Case: 1:24-cv-02240 Document #: 1-1 Filed: 03/19/24 Page 1 of 5 PageID #:15




              EXHIBIT A
Case: 1:24-cv-02240 Document #: 1-1 Filed: 03/19/24 Page 2 of 5 PageID #:16
Case: 1:24-cv-02240 Document #: 1-1 Filed: 03/19/24 Page 3 of 5 PageID #:17
Case: 1:24-cv-02240 Document #: 1-1 Filed: 03/19/24 Page 4 of 5 PageID #:18
Case: 1:24-cv-02240 Document #: 1-1 Filed: 03/19/24 Page 5 of 5 PageID #:19
